                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 July 23, 2015
                              No. 10-15-00008-CR
                               HAROLD BAREFIELD
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                         From the County Court at Law
                             Navarro County, Texas
                          Trial Court No. C-35172-CR
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's judgment, signed on December 16, 2014, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
						PER CURIAM
					SHARRI ROESSLER, CLERK	

					By: ___________________________
						Nita Whitener, Deputy Clerk

